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                    Case 1:21-cv-01032-PAE Document 70-5 Filed 05/09/22 Page 1 of 2




                                                  Attorney Client Privilege




   From: <nflgamepass@neulion.com>
   Date: Tue, Sep 10, 2013 at 12:05 PM
   Subject: NFL Game Pass Purchase Confirmation
   To: <sietel@gmail.com>




    NFL Game Pass (Game Pass SeasonPlus Subscription)




                                                                                      GILL00008
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                         Case 1:21-cv-01032-PAE Document 70-5 Filed 05/09/22 Page 2 of 2


    Dear SIETEL:
    Thank you for your recent purchase of NFL Game Pass! Yoursubscription
    is now active.
    Visit gamepass.nfl.com to begin enjoying your NFL Game Pass
    subscription.


    Your Subscription

    Username:       sietelgill

    Service:        NFL GamePass (GamePass Season Plus Subscription)

    Price:          AUD$204.99

    Receive NFL.com newsletters and marketing messages from NFL.com: Yes


    Your NFL Game Pass subscription for the 2013 season will end at 11:59
    pm GMTon 31 Jul 2014



    Billing Information

    Address:                     27 WARDELL DRIVE

    City/State/Postal Code: SOUTH PENRITH, 2750

    Country:                     AU

    Credit Card Number:          XXXXXXXXXXX3001

    Expiration Date:              7/2017


    Referral Program
    Earn the chance to get 150 NFL Fan Rewardcoins!
    If you signed up for a NFL GamePass Season or Season Plus Subscription,
    and youget a friend to purchase a Season or Season Plus subscription, you
    both will receive 150 NFL Fan Rewards Coins. Tell your friends to sign up
    via your unique URLhttp://gamepass.nfl.com/nflgp/referafriend.jsp and get
    more NFL Fan Rewards Coins.
    Visit http://nfl.com/gamepass/referral to start telling your friends about NFL
    Game Pass!


    Auto Renewal
    Your subscription will automatically renew annually (on or around August
    1) at either the sameprice as the previous year's full season rate or the
    current full season rate, whichever is lower. You may cancel auto renewal at
    any timeprior to next season.


    Canceling Your Subscription
    You can cancel your subscription in any of the following ways:


       © Call customer support (any time from 12:00pm ET to 10:00pm ET)at
             407-936-0867
       e     Send an e-mail to gamepass.support@nfl.com
       © Chat with a customer service representative at
             http://nfl.com/subscriptionsupport


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